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            EXHIBIT A
7/30/2021              Case 1:21-cv-02065-CRC Case
                                               Document         1-1of Columbia
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 2021 CA 002020 B FOOD & WATER WATCH Vs. SMITHFIELD FOODS, INC.
 HMP

   Case Type:
   Civil II
   Case Status:
   Open
   File Date:
   06/16/2021
   Action:
   Complaint for Deceit (Misrepresentation) Filed
   Status Date:
   06/16/2021
   Next Event:
   09/17/2021




   All Information    Party   Event    Docket    Receipt   Disposition


      Party Information
      FOOD & WATER WATCH
      - Plaintiff
     Disposition                                           Alias
     Disp Date                                             Party Attorney
                                                           Attorney
                                                           CHEN, RANDOLPH T
                                                           Attorney
                                                           MURASKIN, DAVID S

      SMITHFIELD FOODS, INC.
      - Defendant
     Disposition                                           Alias
     Disp Date                                             Party Attorney
                                                           Attorney
                                                           RIFFER, TIFFANY H




      Events
     Date/Time                        Location             Type                                   Result   Event Judge
     09/17/2021 09:30 AM              Courtroom 516        Initial Scheduling Conference-60                PASICHOW, HEIDI M




      Docket Information
     Date            Docket Text                                                                                         Image
                                                                                                                         Avail.
     06/16/2021 Complaint for Deceit (Misrepresentation) Filed Receipt: 474418 Date: 06/21/2021
     06/16/2021 eComplaint Filed. Submitted 06/16/2021 06:17. TB                                                               Image
                Attorney: CHEN, RANDOLPH T (1032644)
                Attorney: MURASKIN, DAVID S (1012451)
                FOOD & WATER WATCH (Plaintiff);
     06/21/2021 Event Scheduled
                Event: Initial Scheduling Conference-60
                Date: 09/17/2021 Time: 9:30 am
                Judge: PASICHOW, HEIDI M Location: Courtroom 516




https://eaccess.dccourts.gov/eaccess/search.page.3?x=9Gg61QX2ccCHpksCJJF6Bkpr2XmnTbcsFfvPLx4a1OXRLAgKcrOOf4wBVMht4fgFEvZKlbyr…         1/3
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     Date          Docket Text                                                                                                 Image
                                                                                                                               Avail.
     06/21/2021 Issue Date: 06/21/2021
                Service: Summons Issued
                Method: Service Issued
                Cost Per: $


                    SMITHFIELD FOODS, INC.
                    4701 Cox Rd., Suite 285
                    GLEN ALLEN, VA 23060
                    Tracking No: 5000234584

     06/22/2021 Rule 7.1 Disclosure Statement Filed. Submitted 06/22/2021 17:53. kc.                                               Image
                Attorney: CHEN, RANDOLPH T (1032644)
                FOOD & WATER WATCH (Plaintiff);
     06/23/2021 Complaint Package eServed to Filer                                                                                 Image



     06/23/2021 Praecipe Regarding Rule 7.1 Discloures Statement Filed. Submitted 06/23/2021 13:29. ts.                            Image
                Attorney: CHEN, RANDOLPH T (1032644)
     07/13/2021 Clarifying Praecipe Filed. Submitted 07/13/2021 17:26. mq                                                          Image
                Attorney: HEINZEN, TARAH E (1019829)
                FOOD & WATER WATCH (Plaintiff);
     07/14/2021 Affidavit of Service Filed. Submitted 07/14/2021 12:25. ts.                                                        Image
                SMITHFIELD FOODS, INC. (Defendant);
     07/14/2021 Proof of Service
                 Method : Service Issued
                 Issued : 06/21/2021
                 Service : Summons Issued
                 Served : 06/30/2021
                 Return : 07/14/2021
                 On       : SMITHFIELD FOODS, INC.
                 Signed By : Julie Parrish

                    Reason : Proof of Service
                    Comment :

                    Tracking #: 5000234584
     07/19/2021 Praecipe to Enter Appearance Filed. Submitted 07/19/2021 18:25. mq                                                 Image
                Attorney: RIFFER, TIFFANY H (1020997)
                SMITHFIELD FOODS, INC. (Defendant);
     07/19/2021 Joint Stipulation to Extend Time to Answer to Complaint Filed. Submitted 07/19/2021 18:31. mq                      Image
                Attorney: RIFFER, TIFFANY H (1020997)
                SMITHFIELD FOODS, INC. (Defendant); Receipt: 476135 Date: 07/20/2021
     07/19/2021 Additional eFiling Document to Joint Stipulation to Extend Time to Answer to Complaint Filed. Submitted            Image
                07/19/2021 18:31. mq
                Attorney: RIFFER, TIFFANY H (1020997)




      Receipts
     Receipt Number                Receipt Date            Received From                                                  Payment Amount
     474418                        06/21/2021              CHEN, RANDOLPH T, Attorney                                             $120.00
     476135                        07/20/2021              RIFFER, TIFFANY H, Attorney                                             $20.00
     Total                        Total                   Total                                               Total
                                                                                                                                 $140.00




      Case Disposition
     Disposition                                  Date                Case Judge
     Undisposed                                                       PASICHOW, HEIDI M



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